                                   Case 1:01-cv-12257-PBS Document 7684-1 Filed 08/01/11 Page 1 of 12




                                                                     MDL 1456 STATUS CHART

                                       MDL
        CLASS CASES                                ORIGINAL
                                    DOCKET                                                                        STATUS
                                                 JURISDICTION
                                       NO.
Master Consolidated Class Action   Master File   D. Mass. pursuant      •   May 3, 2004 – Plaintiffs’ Motion to Compel the Production of Documents Created During the
                                   01-CV-        to JPML Order              Relevant Time Period from Defendants Abbott Laboratories, AstraZeneca, Schering Plough,
                                   12257-PBS                                Sicor and Together Rx Defendants sub judice (Magistrate Judge Bowler) [Docket No. 826]
                                                                                 o May 17, 2004 – Certain Defendants’ Notice of Opposition to Plaintiffs’ Motion to
                                                                                     Compel the Production of Certain Documents and Consent Motion for an Extension of
                                                                                     Time [Docket No. 838]
                                                                                 o May 26, 2004 – Notice of Withdrawal of Plaintiffs’ Motion to Compel the Production of
                                                                                     Documents Created During the Relevant Time Period Directed at Defendant Schering–
                                                                                     Plough (Note: withdrawal applies only to Schering-Plough) [Docket No. 851]
                                                                                 o May 27, 2004 – Consent Motion for an Extension of Time to Oppose the Motion to
                                                                                     Compel [Docket No. 855]
                                                                                 o May 27, 2004 – Opposition of the Together Rx Defendants to Plaintiffs’ Motion to
                                                                                     Compel the Production of Documents [Docket No. 854]
                                                                                 o May 28, 2004 – Notice of Withdrawal of Plaintiffs’ Motion to Compel the Production of
                                                                                     Documents Created During the Relevant Time Period Directed at Defendant Abbott
                                                                                     Laboratories (Note: withdrawal applies only to Abbott Laboratories) [Docket No. 857]
                                                                                 o June 8, 2004 – Notice of Withdrawal of Plaintiffs’ Motion to Compel the Production of
                                                                                     Documents Created During the Relevant Time Period Directed at Defendant AstraZeneca.
                                                                                     (Note: withdrawal applies only to AstraZeneca) [Docket No. 863]
                                                                                 o June 9, 2004 – Plaintiffs’ Reply Memorandum in Support of Motion to Compel the
                                                                                     Production of Documents Created During the Relevant Time Period from the Together
                                                                                     Rx Defendants [Docket No. 864]
                                                                                 o June 22, 2004 – Order granting Plaintiffs’ Motion to Withdraw Motion to Compel
                                                                                     Directed at Abbott Laboratories [Electronic Order]
                                                                                 o Awaiting scheduling of hearing or ruling by Court as to Together Rx Defendants

                                                                        o   February 23, 2005 – Third Party Schaller Anderson Inc.’s Objection and Motion to Quash
                                                                            Plaintiffs’ Subpoena

                                                                        •   June 14, 2005 – Defendant Sicor Inc. and Sicor Pharmaceuticals, Inc.’s Motion for Protective
                                                                            Order with Memorandum in Support sub judice (Magistrate Judge Bowler) [Docket No. 1555]
                                                                                 o June 28, 2005 – Plaintiffs’ Response to Sicor’s Motion for Protective Order [Docket No.
                                                                                      1568]
                                                                                 o July 6, 2005 – Motion for Leave to File Reply to Plaintiffs’ Response to Sicor’s Motion
                                                                                      for Protective Order [Docket No. 1580]

                                                                        •   November 9, 2005 – Plaintiffs’ Motion for Order Exempting Defendant Abbott Laboratories




                                                                                1
                                   Case 1:01-cv-12257-PBS Document 7684-1 Filed 08/01/11 Page 2 of 12




                                     MDL
        CLASS CASES                             ORIGINAL
                                    DOCKET                                                              STATUS
                                              JURISDICTION
                                      NO.
Master Consolidated Class Action                                  from Any Order Refusing to Extend Deadline for Track Two Discovery [Docket No. 1875]
(continued)                                                           o November 23, 2005 – Defendant Abbott Laboratories’ Opposition to Plaintiffs’ Motion
                                                                          for Order Exempting Defendant Abbott Laboratories from Any Order Declining to
                                                                          Extend Deadline for Track Two Discovery [Docket No. 1904]
                                                                      o December 1, 2005 – Plaintiffs’ Letter to Magistrate Judge Bowler Requesting
                                                                          Postponement of Hearing until Track Two Discovery Issues Resolved

                                                              •   November 28, 2005 – Plaintiffs’ Motion for Clarification of Case Management Order #16
                                                                  [Docket No. 1912]
                                                                      o November 30, 2005 – Certain Track II Defendants’ Request for Expedited Hearing
                                                                           [Docket No. 1923]
                                                                      o November 30, 2005 – Response of Defendant Watson Pharma, Inc. to Plaintiffs’ “Motion
                                                                           for Clarification of Case Management Order #16” [Docket No. 1924]
                                                                      o December 1, 2005 – Order re: Plaintiffs’ Motion for Clarification of Case Management
                                                                           Order #16 [Docket No. 1925]
                                                                      o December 9, 2005 – Track II Defendants’ Submission Regarding Discovery Schedule
                                                                           [Docket No. 1950]
                                                                      o December 9, 2005 – Watson Pharmaceuticals, Inc.’s Response to Court Order Regarding
                                                                           Discovery Schedule [Docket No. 1951]
                                                                      o December 9, 2005 – Defendants Baxter Healthcare Corporation and Baxter International
                                                                           Inc.’s Memorandum Regarding Track II Discovery Schedule [Docket No. 1952]
                                                                      o December 9, 2005 – Plaintiffs’ Memorandum in Support of Their Proposed Track II
                                                                           Discovery Schedule [Docket No. 1953]
                                                                      o December 15, 2005 – Plaintiffs’ Reply to Watson Pharmaceuticals, Inc.’s Response to
                                                                           Court Order Regarding Discovery Schedule [Docket No. 1964]
                                                                      o December 16, 2005 – Watson Pharmaceuticals, Inc.’s Motion for Leave to File Reply
                                                                           Memorandum in Support of Its Response to Court Order Regarding Discovery Schedule
                                                                           [Docket No. 1970]

                                                              •   February 16, 2006 – Dey, Inc.’s and Abbott Laboratories’ Objections to the Order of Chief
                                                                  Magistrate Judge Bowler Issued on February 4, 2006 Pursuant to Fed. R. Civ. P. Rule 72(a)
                                                                  [Docket No. 2140]
                                                                      o February 22, 2006 – Plaintiffs’ Assented-to Motion for Leave to Reply to Dey, Inc.’s and
                                                                           Abbott Laboratories’ Objections to the Order of Chief Magistrate Judge Bowler Issued on
                                                                           February 4, 2006 to File Such Reply Until March 8, 2006 [Docket No. 2148]
                                                                      o March 8, 2006 – Plaintiffs’ Motion for Leave to File Plaintiffs’ Opposition to Dey, Inc.’s
                                                                           and Abbott Laboratories’ Objections to Chief Magistrate Judge Bowler’s Order Denying
                                                                           Further Discovery of Massachusetts Health Plans [Docket No. 2237]
                                                                      o March 8, 2006 – Plaintiffs’ Opposition to Dey, Inc.’s and Abbott Laboratories’




                                                                      2
                                   Case 1:01-cv-12257-PBS Document 7684-1 Filed 08/01/11 Page 3 of 12




                                     MDL
        CLASS CASES                             ORIGINAL
                                    DOCKET                                                               STATUS
                                              JURISDICTION
                                      NO.
Master Consolidated Class Action                                           Objections to Chief Magistrate Judge Bowler’s Order Denying Further Discovery of
(continued)                                                                Massachusetts Health Plans [Docket No. 2238]

                                                              •   February 21, 2006 – United Healthcare, Inc. and United HealthCare Insurance Co.’s Limited
                                                                  Objections to Magistrate Judge’s Order Granting Defendants’ Motion to Compel [Docket No.
                                                                  2144]
                                                                      o March 10, 2006 – Defendants’ Response to Third Party United Healthcare, Inc. and
                                                                           United HealthCare Insurance Company’s Objections to Chief Magistrate Judge Bowler’s
                                                                           Order Granting Defendants’ Motion to Compel [Docket No. 2243]

                                                              •   May 8, 2006 – Plaintiffs’ Motion to Certify Claims with Respect to Track 2 Defendants
                                                                  [Docket No. 2522]
                                                                      o May 16, 2006 – Plaintiffs’ Motion for Leave to Join Harold Bean as a Plaintiff and a
                                                                           Proposed Class Representative [Docket No. 2584]
                                                                                     May 19, 2006 – Track Two Defendants’ Opposition to Plaintiffs’ Motion for
                                                                                      Leave to Join Harold Bean as a Plaintiff and Class Representative [Docket No.
                                                                                      2590]
                                                                                     May 24, 2006 – Warrick Pharmaceuticals Corp.’s Opposition to Plaintiffs’
                                                                                      Motion for Leave to Join Harold Bean as a Plaintiff and Class Representative
                                                                                      [Docket No. 2599]
                                                                      o May 16, 2006 – Track Two Defendants’ Motion to Strike Harold Bean as a Proposed
                                                                           Class Representative [Docket No. 2582]
                                                                                     May 26, 2006 – Plaintiffs’ Memorandum in Opposition to Motion to Strike
                                                                                      Harold Bean as a Proposed Class Representative [Docket No. 2608]
                                                                      o June 15, 2006 – Defendants’ Individual Memoranda of Law in Opposition to Track 2
                                                                           Class Certification (individual memorandum filed by each of the Track 2 Defendants)
                                                                           (Redacted versions filed in last week of June/first week of July 2006) [Docket No. 2687]
                                                                      o July 19, 2006 – Plaintiffs’ Reply Memorandum in Support of Motion to Certify Claims
                                                                           With Respect to Track 2 Defendants [Docket No. 2889]
                                                                      o August 4, 2006 – Track Two Proposal Concerning the Appointment of a Neutral Expert
                                                                           to Advise the Court on Track Two Class Certification [Docket No. 2957]
                                                                      o August 7, 2006 – Plaintiffs’ Response to Track Two Proposal Concerning the
                                                                           Appointment of a Neutral Expert to Advise the Court on Track Two Class Certification
                                                                           [Docket No. 2964]
                                                                      o August 25, 2006 – Track Two Defendants’ Memorandum Regarding Harold Bean, in
                                                                           Further Opposition to Class Certification [Docket No. 3018]
                                                                      o August 25, 2006 – Track Two Defendants’ Memorandum in Opposition to Class
                                                                           Certification [Docket No. 3020]
                                                                      o September 5, 2006 – Plaintiff’s Response to Track 2 Defendants’ Memorandum




                                                                      3
                                   Case 1:01-cv-12257-PBS Document 7684-1 Filed 08/01/11 Page 4 of 12




                                     MDL
        CLASS CASES                             ORIGINAL
                                    DOCKET                                                              STATUS
                                              JURISDICTION
                                      NO.
Master Consolidated Class Action                                           Regarding Harold Bean [Notice of Filing Under Seal - Docket No. 3063], Declaration of
(continued)                                                                Donald E. Haviland [Docket No. 3065]
                                                                      o    September 6, 2006 – Track Two Defendants’ Notice of Supplemental Evidence Relevant
                                                                           to Class Certification [Docket No. 3071]
                                                                      o    September 11, 2006 – Track Two Defendants’ Supplemental Filing Regarding the Track
                                                                           Two Defendants’ Motion for Leave to File the Rebuttal Declaration of Steven J. Young in
                                                                           Support of Track 2 Defendants’ Opposition to Class Certification or, in the Alternative,
                                                                           Motion to Strike the Hartman Track 2 Dyckman Rebuttal, Hartman Track 2 Young
                                                                           Rebuttal and the Rosenthal Rebuttal) [Notice of Filing Under Seal - Docket No. 3093]
                                                                      o    September 11, 2006 – Track Two Defendants’ Notice of Supplemental Authority
                                                                           Relevant to Class Certification [Docket No. 3094]
                                                                      o    October 16, 2006 – Class Plaintiffs’ Submission of the “Generics Chart” Pursuant to the
                                                                           Oral Request of the Court During the Class Certification Hearing in Connection with
                                                                           Track 2 (corrected October 17, 2006) [Docket No. 3220; Corrected Docket No. 3223]
                                                                      o    December 21, 2006 – Track Two Defendants’ Motion to Strike the “Generics Chart” and
                                                                           Proposed Track Two Class Certification Order Submitted by Plaintiffs’ in Support of
                                                                           Their Motion for Class Certification [Docket No. 3499]
                                                                      o    July 25, 2007 – Defendant Amgen Inc.’s Supplemental Memorandum in Opposition to
                                                                           Class Certification [Docket No. 4506]
                                                                      o    August 8, 2007 – Class Plaintiffs’ Response to Amgen and Watson’s Supplemental
                                                                           Opposition to Class Certification [Docket No. 4609]
                                                                      o    August 23, 2007 – Memorandum of Plaintiffs and Class 1 Representatives Harold Carter,
                                                                           Rev. David Aaronson, and Harold Bean in Response to Defendant Amgen, Inc.’s
                                                                           Supplemental Memorandum in Opposition to Class Certification [Docket No. 4641]
                                                                      o    August 31, 2007 – Plaintiffs’ Supplemental Memorandum in Support of Track 2 Class
                                                                           Certification Regarding State Law Issues [Docket No. 4675]
                                                                                 September 21, 2007 – Individual Memorandum of Aventis Pharmaceuticals Inc. in
                                                                                  Opposition to Plaintiffs’ Supplemental Memorandum in Support of Track 2 Class
                                                                                  Certification Regarding State Law Issues [Docket No. 4738]
                                                                                 September 21, 2007 – Response of Defendants Amgen Inc. and Watson
                                                                                  Pharmaceuticals, Inc. to Plaintiffs’ Supplemental Memorandum in Support of
                                                                                  Track 2 Class Certification Regarding State Law Issues [Docket No. 4740]
                                                                      o    September 7, 2007 – Plaintiffs’ Submission of Supplemental Authority Relating to Track
                                                                           2 Class Certification and State Law Issues [Docket No. 4691]
                                                                      o    September 14, 2007 – Watson Pharmaceuticals, Inc.’s Response to Class Plaintiffs’
                                                                           Response to Amgen and Watson’s Supplemental Opposition to Class Certification
                                                                           [Docket No. 4716]

                                                              •   June 22, 2006 – Plaintiffs’ Motion to Quash May 18, 2006 Amended Notice of Deposition of




                                                                      4
                                   Case 1:01-cv-12257-PBS Document 7684-1 Filed 08/01/11 Page 5 of 12




                                     MDL
        CLASS CASES                             ORIGINAL
                                    DOCKET                                                             STATUS
                                              JURISDICTION
                                      NO.
Master Consolidated Class Action                                  Harvey Weintraub Filed by Defendant Warrick Pharmaceuticals Corporation [Docket No.
(continued)                                                       2755]
                                                                      o June 22, 2006 – Plaintiffs’ Motion for Leave to File Under Seal Plaintiffs’ Memorandum
                                                                          and Exhibit 1 to the Declaration of Steve W. Berman in Support of Motion to Quash May
                                                                          18, 2006 Amended Notice of Deposition of Harvey Weintraub Filed by Defendant
                                                                          Warrick Pharmaceuticals Corporation [Docket No. 2754]
                                                                      o July 6, 2006 – Warrick’s Memorandum in Opposition to Certain Plaintiffs’ Motion to
                                                                          Quash May 18, 2006 Amended Notice of Deposition of Harvey Weintraub and in Support
                                                                          of Cross Motion for Leave to Take Deposition of Harvey Weintraub for Purposes of
                                                                          Preservation of Testimony [Docket No. 2840]
                                                                      o July 20, 2006 – Plaintiffs’ Memorandum in Opposition to Warrick Pharmaceuticals
                                                                          Corporation’s Cross-Motion for Leave to Take the Deposition of Harvey Weintraub for
                                                                          Purposes of Preservation of Testimony [Docket No. 2898]
                                                                      o August 3, 2006 – Warrick Pharmaceuticals Corporation’s Reply Memorandum in Support
                                                                          of Its Cross Motion for Leave to Take the Deposition of Harvey Weintraub for Purposes
                                                                          of Preservation of Testimony [Docket No. 2950-2]

                                                              •   November 2, 2006 – Defendant Immunex Corporation’s Objections to October 23, 2006 Order
                                                                  by Chief Magistrate Judge Bowler Regarding Immunex’s Motion for Protective Order
                                                                  Regarding May 17, 2006, Deposition Notice [Docket No. 3303]
                                                                      o November 9, 2006 – Plaintiffs’ Memorandum In Response to Immunex Corporation’s
                                                                           Objections to October 23, 2006 Order by Chief Magistrate Judge Bowler Denying
                                                                           Immunex’s Motion for Protective Order [Notice of Filing Under Seal – Docket No. 3331]

                                                              •   November 6, 2006 – Plaintiffs’ Objections to the October 23, 2006 Order by Chief Magistrate
                                                                  Bowler Re: Amgen Inc.’s Motion for Protective Order Relating to Plaintiffs’ Rule 30(b)(6)
                                                                  Deposition Notice Regarding Sales and Marketing [Docket No. 3323]
                                                                      o November 14, 2006 – Amgen Inc.’s Response to Plaintiffs’ Objections to Chief
                                                                           Magistrate Judge Bowler’s October 23, 2006 Order Granting Amgen Inc.’s Motion for
                                                                           Protective Order [Docket No. 3361]

                                                              •   February 22, 2007 – Plaintiffs’ Objections to February 12, 2007 Order by Magistrate Judge
                                                                  Bowler Granting Defendant Abbott Laboratories’ Motion for Protective Order and Motion to
                                                                  Quash Plaintiffs’ Third Party Subpoenas [Docket No. 3802]
                                                                      o March 8, 2007 – Abbott Laboratories Response to Plaintiffs’ Objections to February 12,
                                                                           2007 Order by Magistrate Judge Bowler Granting Defendant Abbott Laboratories’
                                                                           Motion for Protective Order and Motion to Quash Plaintiffs’ Third Party Subpoenas
                                                                           [Docket No. 3837]
                                                                      o March 23, 2007 – Plaintiffs’ Reply Brief in Support of Their Objections to February 12,




                                                                      5
                                   Case 1:01-cv-12257-PBS Document 7684-1 Filed 08/01/11 Page 6 of 12




                                     MDL
        CLASS CASES                             ORIGINAL
                                    DOCKET                                                              STATUS
                                              JURISDICTION
                                      NO.
Master Consolidated Class Action                                           2007 Order by Magistrate Judge Bowler Granting Defendant Abbott Laboratories’
(continued)                                                                Motion for Protective Order and Motion to Quash Plaintiffs’ Third Party Subpoenas
                                                                           [Docket No. 3915]
                                                              •   March 22, 2007 – Declaration of G. Raymond Pironti, Jr. Regarding Time Expended for
                                                                  Preparing Direct Testimony via Declaration and Traveling from Tampa, Florida to Boston
                                                                  Pursuant to Subpoena to Appear for Trial Testimony and Request for Reimbursement
                                                                  [Docket No. 3945]

                                                              •   July 13, 2007 – Notice of Submission to Court of Declaration and Request for Determination
                                                                  of Proprietary Filing Under Seal [Docket No. 4460]
                                                                    o July 27, 2007 – Class Counsel’s Response to the Declaration of Donald E. Haviland, Jr. In
                                                                         Response to Court Directive Concerning AstraZeneca Settlement [Docket No. 4510]
                                                                    o August 24, 2007 – Declaration of Donald E. Haviland, Jr., in Response to Court Directive
                                                                         Concerning the AstraZeneca Settlement [Docket No. 4660]

                                                             •    October 23, 2008 – Plaintiffs’ Offer of Proof Regarding Standing of Pirelli Armstrong Tire
                                                                  Corporation Retiree Medical Benefits Trust [Docket No. 5641]
                                                                      o December 16, 2008 – Plaintiffs’ Amended Offer of Proof Regarding Standing of Pirelli
                                                                           Armstrong Tire Corporation Retiree Medical Benefits Trust [Docket No. 5781]

                                                             •    November 20, 2008 – [Proposed] Consolidated Order Re: Motion for Nationwide Certification
                                                                  Relating to AstraZeneca and the BMS Group [Docket No. 5691]
                                                                      o November 24, 2008 – Objection by AstraZeneca Pharmaceuticals LP to the Proposed
                                                                           Order Submitted by Plaintiffs With Respect to the Certification Under Rule 23 of
                                                                           Multistate Cases [Docket No. 5705]
                                                                      o November 25, 2008 – Objection by Bristol-Myers Squibb Company to the Proposed Order
                                                                           Submitted by Plaintiffs With Respect to the Certification Under Rule 23 of Multistate
                                                                           Cases [Docket No. 5709]
                                                                      o January 26, 2009 – Order to Stay Entry of Multistate Class Certification Order Pending
                                                                           Appeal of Massachusetts Class Judgment [Electronic Order]

                                                              •   February 23, 2009 – Revised Objection to Class Action Settlement and Notice of Intent to
                                                                  Appear of Class Member Patricia Weatherly (re Track Two Settlement) [Docket. No. 5921]

                                                              •   March 2, 2009 – Class Counsel Motion for Entry of an Order Granting Final Approval of the
                                                                  Track Two Settlement [Docket No. 5934]
                                                                      o [Proposed] Final Order and Judgment Granting Final Approval of the Track Two Class
                                                                           Action Settlements, Approving Proposed Allocation of Settlement Funds, and Approving




                                                                      6
                                   Case 1:01-cv-12257-PBS Document 7684-1 Filed 08/01/11 Page 7 of 12




                                     MDL
        CLASS CASES                             ORIGINAL
                                    DOCKET                                                          STATUS
                                              JURISDICTION
                                      NO.
Master Consolidated Class Action                                       Class Counsel Application of Attorneys’ Fees, Reimbursement of Litigation Expenses
(continued)                                                            and Compensation for Class Representatives [Docket No. 5934-2]
                                                                   o   March 2, 2009 – Class Plaintiffs’ Memorandum of Law in Support of Motion for Final
                                                                       Approval of the Track Two Settlement [Docket No. 5935]; Declaration of Katherine
                                                                       Kinsella Regarding Class Notice in the Track Two Settlement [Docket No. 5936];
                                                                       Declaration of Eric Miller Regarding Mailing of Notice to Class members [Docket No.
                                                                       5937]
                                                                   o   March 2, 2009 – Class Counsel’s Memorandum of Law in Support of Petition for
                                                                       Attorneys’ Fees, Reimbursement of Expenses and Compensation to the Class
                                                                       Representatives in Association with the Track 2 Settlement [Docket No. 5938];
                                                                       Declaration of Marc. H. Edelson in Support of Class Plaintiffs’ Joint Petition for
                                                                       Attorneys’ Fees, Reimbursement of Expenses in Relation to Track 2 Settlement [Docket
                                                                       No. 5939]
                                                                   o   March 9, 2009 – Objection to Track Two Settlement and Attorney’s Fee Request and
                                                                       Notice of Intention to Appear at Fairness Hearing [Docket No. 5947]
                                                                   o   March 16, 2009 – Memorandum of Named Consumer Plaintiffs in Opposition to
                                                                       Approval of the Proposed Track Two Nationwide Class Certification and Settlement
                                                                       [Docket No. 5953], Declaration of Donald E. Haviland, Jr. in Support of Memorandum of
                                                                       Named Consumer Plaintiffs in Opposition to Approval of the Proposed Track Two
                                                                       Nationwide Class Certification and Settlement [Docket No. 5954]
                                                                   o   March 24, 2009 – Revised Memorandum of Named Consumer Plaintiffs in Opposition to
                                                                       Approval of the Proposed Track Two Nationwide Class Certification and Settlement
                                                                       [Docket No. 5971]
                                                                   o   April 9, 2009 – Class Plaintiffs’ Response to Objections to Final Approval of the Track
                                                                       Two Settlement [Docket No. 6003], Declaration of Steve W. Berman in Support of Class
                                                                       Plaintiffs’ Response to Objections to Final Approval of the Track Two Settlement
                                                                       [Docket No. 6004], Declaration of Thomas M. Sobol in Support of Class Plaintiffs’
                                                                       Response to Objections to Final Approval to the Track Two Settlement [Docket No.
                                                                       6005], Declaration of Jeffrey S. Goldenberg [Docket No. 6006], Declaration of Alex
                                                                       Sugerman-Brozanm, Co-Consumer Allocation Counsel, in Support of Final Approval of
                                                                       the Track Two Settlement [Docket No. 6007], Declaration of Wells Wilkinson in Support
                                                                       of Final Approval of the Track Two Settlement [Docket No. 6008], Declaration of Eric P.
                                                                       Lachance Regarding Consumer Class Members [Docket No. 6009]
                                                                   o   April 21, 2009 – Class Plaintiffs’ Notice of Filing in Support of Their Response to
                                                                       Objections to Final Approval of the Track Two Settlement [Docket No. 6015]
                                                                   o   April 23, 2009 – Reply of Objectors John Pentz, Connie Pentz and Corinna Connick to
                                                                       Class Plaintiffs’ Response to Objections to Final Approval of Track Two Settlement
                                                                       [Docket No. 6021], Affidavit of Edward Cochran [Docket No. 6021-2]
                                                                   o   April 24, 2009 – Affidavit of Donald E. Haviland, Jr., in Support of Evidentiary




                                                                   7
                                   Case 1:01-cv-12257-PBS Document 7684-1 Filed 08/01/11 Page 8 of 12




                                     MDL
        CLASS CASES                             ORIGINAL
                                    DOCKET                                                          STATUS
                                              JURISDICTION
                                      NO.
Master Consolidated Class Action                                       Submission for Track Two Fairness Hearing [Docket No. 6026]
(continued)                                                        o   December 13, 2009 – Objecting Class Member James W. Wilson’s Amended Objection
                                                                       to the Court’s Approval of Attorneys’ Fees in Excess of $10 Million [Docket No. 6758]
                                                                   o   December 15, 2009 – Class Member Patricia Weatherly’s Second Revised Objection to
                                                                       Class Action Settlement and Notice of Intent to Appear [Docket No. 6762]
                                                                   o   December 20, 2009 – Objecting Class Member James W. Wilson’s Amended Objection
                                                                       to the Court’s Approval of Attorneys’ Fees in Excess of $10 Million [Docket No. 6778]
                                                                   o   January 28, 2010 – Class Plaintiffs’ Notice of Status Related to Final Approval of the
                                                                       Track Two Settlement [Docket No. 6867]
                                                                   o   February 4, 2010 – Track Two Defendants’ Response to Class Plaintiffs’ Status Report
                                                                       Regarding Track Two Settlement [Docket No. 6891]
                                                                   o   February 2, 2011 – Plaintiffs’ Motion for Approval of Revised Notice Plan and Schedule
                                                                       for Final Approval of Track Two Settlement [Docket No. 7399]
                                                                   o   May 17, 2011 – First Memorandum in Opposition to Motion for Order to Class Counsel’s
                                                                       Motion for Entry of an Order Granting Final Approval of the Track Two Settlement
                                                                       [Docket No. 7545]
                                                                   o   May 24, 2011 – Omnibus Objection of Named Consumer Plaintiffs in Opposition to
                                                                       Approval of the Proposed Track Two Nationwide Class Settlement [Docket No. 7556]
                                                                            •    May 26, 2011 - Class Counsel’s Motion to Strike Exhibit A to Don Haviland’s
                                                                                 Omnibus Objection of Named Consumer Plaintiffs in Opposition to Approval
                                                                                 of the Proposed Track Two Nationwide Class Settlement [Docket No. 7559]
                                                                   o   May 24, 2011 – Opposition regarding Motion for Order to Class Counsel’s Motion for
                                                                       Entry of an Order Granting Final Approval of the Track Two Settlement [Docket No.
                                                                       7563]
                                                                   o   June 1, 2011 – Class Plaintiff’s Notice Concerning Recommendation on Use of Excess
                                                                       Settlement Funds in the Proposed Track Two Settlement [Docket No. 7571]
                                                                   o   June 1, 2011 – Class Plaintiffs’ Supplemental Response to Objections to Final Approval
                                                                       of the Track Two Settlement [Docket No. 7573]
                                                                   o   June 1, 2011 - Supplemental Declaration of Katherine Kinsella Regarding Class Notice in
                                                                       the Track Two Settlement [Docket No. 7574]
                                                                   o   June 1, 2011 - Declaration of Daniel Coggeshall Regarding Mailing of Notice and Claims
                                                                       Activity Related to Class 1 Members and Claims Activity Related to Classes 2 and 3 in
                                                                       the Track Two Settlement [Docket No. 7575]
                                                                            •    June 21, 2011 – Track Two Defendants’ Memorandum in Support of Track
                                                                                 Two Class Action Settlement [Docket No. 7614]
                                                                            •    July 5, 2011 – Memorandum of Law by Susan Aaronson [Docket 7652]
                                                                   o   June 1, 2011 – Class Plaintiff’s Motion to Add Individual Plaintiff’s as Class
                                                                       Representatives for Track Two Settlement [Docket No. 7572], Affidavit of Agnes
                                                                       Swayze (Docket No. 7572-1], Affidavit of Thomas Trutsky [Docket No. 7572-2],




                                                                   8
                                   Case 1:01-cv-12257-PBS Document 7684-1 Filed 08/01/11 Page 9 of 12




                                     MDL
        CLASS CASES                             ORIGINAL
                                    DOCKET                                                              STATUS
                                              JURISDICTION
                                      NO.
Master Consolidated Class Action                                           Affidavit of Mariella Laday [Docket No. 7572-3]
(continued)                                                           o    June 15, 2011 – Certain Named Plaintiff’s Opposition to Class Plaintiff’s Motion to Add
                                                                           Individual Plaintiffs as Class Representatives for Track Two Settlement [Docket No.
                                                                           7601]
                                                                      o    June 24, 2011 – Class Plaintiffs Reply Brief in Support of Their Motion to Add Individual
                                                                           Plaintiffs as Class Representatives for Track Two Settlement [Docket 7618]
                                                                                •     Declaration of Steve W. Berman [Docket No. 7619]
                                                                                •     Supplemental Affidavit of Agnes Swayze [Docket No. 7620]
                                                                                •     Supplemental Affidavit of Thomas Trutsky [Docket No. 7621]
                                                                                •     Corrected Declaration of Steve W. Berman [Docket 7622]
                                                                      o    July 7, 2011 Class-Plaintiffs’ Motion to Add Individual Plaintiffs as Class
                                                                           Representatives for Track Two Settlement [Docket No. 7655]

                                                              •   March 27, 2009 – Class Plaintiffs’ Motion for Protective Order with Regard to Muriel
                                                                  Tonacchio Deposition [Docket No. 5979]
                                                                      o March 27, 2009 – Class Plaintiffs’ Memorandum in Support of Their Motion for
                                                                           Protective Order with Regard to Muriel Tonacchio Deposition [Docket No. 5980];
                                                                           Declaration of Jennifer Fountain Connolly [ Docket No. 5981]
                                                                      o April 23, 2009 – Named Consumer Plaintiffs’ Opposition to Class Plaintiffs’ Motion for
                                                                           Protective Order with Regard to Muriel Tonacchio Deposition [Docket No. 6019], Named
                                                                           Consumer Plaintiffs’ Memorandum in Opposition to Class Plaintiffs’ Motion for
                                                                           Protective Order with Regard to Muriel Tonacchio Deposition [Docket No. 6019]

                                                              •   March 27, 2009 – Motion by Prescription Access Litigation, Community Catalyst and Health
                                                                  Care for All to Quash Subpoenas Duces Tecum Served by Don Haviland [Docket No. 5982]
                                                                      o March 27, 2009 – Memorandum of Prescription Access Litigation, Community Catalyst
                                                                           and Health Care for All in Support of Their Motion to Quash Subpoenas Duces Tecum
                                                                           Served by Don Haviland [Docket No. 5983]; Declaration of Jennifer Fountain Connolly
                                                                           [Docket No. 5984]
                                                                      o April 23, 2009 – Named Consumer Plaintiffs’ Response to Motion by Prescription Access
                                                                           Litigation, Community Catalyst and Health Care For All to Quash Subpoenas Duces
                                                                           Tecum [Docket No. 6020], Named Consumer Plaintiffs’ Memorandum in Opposition to
                                                                           Motion by Prescription Access Litigation, Community Catalyst and Health Care For All
                                                                           to Quash Subpoenas Duces Tecum [Docket No. 6020]

                                                              •   November 23, 2009 – The J&J Defendants’ Post-Remand Motion for Summary Judgment
                                                                  Against Class 1 Residents of the Commonwealth of Massachusetts [Docket No. 6667]
                                                                      o November 23, 2009 – The J&J Defendants’ Memorandum in Support of Their Post-
                                                                           Remand Motion for Summary Judgment Against Class 1 Residents of the Commonwealth




                                                                      9
                                   Case 1:01-cv-12257-PBS Document 7684-1 Filed 08/01/11 Page 10 of 12




                                      MDL
        CLASS CASES                             ORIGINAL
                                     DOCKET                                                              STATUS
                                              JURISDICTION
                                       NO.
Master Consolidated Class Action                                           of Massachusetts [Docket No. 6668], The J&J Defendants’ Local Rule 56.1 Statement in
(continued)                                                                Support of Their Post-Remand Motion for Summary Judgment Against Class 1 Residents
                                                                           of the Commonwealth of Massachusetts [Docket No. 6669]
                                                                      o    January 15, 2010 – Plaintiffs’ Combined Opposition to the J&J Defendants’ Post-Remand
                                                                           Motions for Summary Judgment [Docket No. 6834], Plaintiffs’ Local Rule 56.1 Counter-
                                                                           Statement of Disputed Material Facts in Opposition to the J&J Defendants’ Post-Remand
                                                                           Motions for Summary Judgment [Docket No. 6835], Declaration of Steve W. Berman in
                                                                           Support [Docket No. 6836]
                                                                      o    January 29, 2010 – The J&J Defendants’ Reply Memorandum in Support of Their Post-
                                                                           Remand Motion for Summary Judgment Against Class 1 Residents of the Commonwealth
                                                                           of Massachusetts [Docket No. 6869]

                                                              •   November 23, 2009 – The J&J Defendants’ Post-Remand Motion for Summary Judgment
                                                                  Against Class 1 Residents of the District of Columbia and States Other Than the
                                                                  Commonwealth of Massachusetts [Docket No. 6671]
                                                                      o November 23, 2009 – The J&J Defendants’ Memorandum in Support of Their Post-
                                                                           Remand Motion for Summary Judgment Against Class 1 Residents of the District of
                                                                           Columbia and States Other than the Commonwealth of Massachusetts [Docket No. 6672]
                                                                                •     November 24, 2009 – The J&J Defendants’ Notice of Filing of Corrected
                                                                                      Appendix [Docket No. 6683]
                                                                      o November 23, 2009 – The J&J Defendants’ Local Rule 56.1 Statement in Support of
                                                                           Their Post-Remand Motion for Summary Judgment Against Class 1 Residents of the
                                                                           District of Columbia and States other than the Commonwealth of Massachusetts [Docket
                                                                           No. 6673]
                                                                      o January 15, 2010 – Plaintiffs’ Combined Opposition to the J&J Defendants’ Post-Remand
                                                                           Motions for Summary Judgment [Docket No. 6834], Plaintiffs’ Local Rule 56.1 Counter-
                                                                           Statement of Disputed Material Facts in Opposition to the J&J Defendants’ Post-Remand
                                                                           Motions for Summary Judgment [Docket No. 6835], Declaration of Steve W. Berman in
                                                                           Support [Docket No. 6836]
                                                                      o January 29, 2010 – The J&J Defendants’ Reply Memorandum in Support of Their Post-
                                                                           Remand Motion for Summary Judgment Against Class 1 Residents of the District of
                                                                           Columbia and States other than The Commonwealth of Massachusetts [Docket No. 6870]
                                                                      o March 5, 2010 – The J&J Defendants’ Supplemental Authority in Support of the J&J
                                                                           Defendants’ Post-Remand Motion for Summary Judgment Against Class 1 Residents of
                                                                           the District of Columbia and States Other than the Commonwealth of Massachusetts
                                                                           [Docket No. 6947]
                                                                                •     March 15, 2010 – Plaintiffs’ Response to the J&J Defendants’ Supplemental
                                                                                      Authority [Docket No. 6977]
                                                                                •     June 29, 2010 – Status Report – Class 1 Plaintiffs’ Status Report Regarding J&J




                                                                      10
                                   Case 1:01-cv-12257-PBS Document 7684-1 Filed 08/01/11 Page 11 of 12




                                      MDL
        CLASS CASES                             ORIGINAL
                                     DOCKET                                                              STATUS
                                              JURISDICTION
                                       NO.
Master Consolidated Class Action                                                     Defendants [Docket No. 7151]; Response by Centocor, Inc., Johnson &
(continued)                                                                          Johnson [Docket No. 7152]
                                                                                •    July 19, 2010 – Brief by All Plaintiffs – Class 1 Plaintiffs’ Statement Regarding
                                                                                     Position Take by the Department of Justice Regarding Dr. Hartman’s 30%
                                                                                     Benchmark [Docket No. 7188]; Declaration by Steve Berman re: 7188 [Docket
                                                                                     No. 7189]; Statement of Counsel by Johnson & Johnson [Docket No. 7190]
                                                                                •    July 21, 2010 – Stipulation and [Proposed] Order Concerning Proposed Class 1
                                                                                     Representative, Mrs. Jimmie Oustad [Docket No. 7193]
                                                                                •    August 6, 2010 - Judge Saris Stipulation and Order Concerning Proposed Class
                                                                                     1 Representative, Mrs. Jimmie Oustad [Docket No. 7219]
                                                                                •    September 3, 2010 – Judge Saris Memorandum and Order Granting in Part and
                                                                                     Denying in Part Motion for Summary Judgment [Docket No. 7248]

                                                              •   April 13, 2011 – Notice Regarding Involvement of HealthCare for All in Track 2 Settlement by
                                                                  Don Haviland [Docket No. 7501]
                                                                       o April 14, 2011 – Class Counsel’s Response [Docket No. 7504]
                                                                       o May 2, 2011 – Reply in Response to Class Counsel’s Response to Notice Regarding
                                                                            Involvement of HealthCare for All in Track 2 Settlement [Docket No. 7527]

                                                              •   April 14, 2011 - Health Care for All’s Motion to Withdraw as Class 1 Representative for
                                                                  Track 2 Settlement by Health Care For All [Docket No. 7503]
                                                                       o May 2, 2011 – Response of Named Consumer Plaintiffs to HealthCare for All’s Motion to
                                                                            Withdraw as Class 1 Representative for Track II Settlement [Docket No. 7528]

                                                              •   April 21, 2011 – Motion to Vacate or, in the Alternative, Modify the Court’s June 22, 2010
                                                                  Order By Donald Haviland [Docket No. 7511]
                                                                       o May 19, 2011 – Opposition to Motion to Vacate or, in the Alternative, Modify the Court’s
                                                                            June 22, 2010 Order [Docket No. 7547]
                                                                                 •    Declaration of Steve W. Berman in Support [Docket No. 7548]

                                                              •   April 28, 2011 – Lead Counsel’s Motion for Attorneys’ Fees and Costs and Compensation to
                                                                  the Class Representatives in Association with the Track Two Settlement [Docket No. 7515]
                                                                       o April 28, 2011 – Memorandum in Support [Docket No. 7516]
                                                                       o April 28, 2011 – Declaration of Steve Berman in Support
                                                                       o April 28, 2011 – Declaration of Marc Edelson in Support
                                                                       o May 16, 2011 – Opposition to Lead Counsel’s Motion for Attorneys’ Fees and Costs and
                                                                            Compensation to the Class Representatives in Association with the Track Two Settlement
                                                                            [Docket No. 7542]




                                                                     11
                                   Case 1:01-cv-12257-PBS Document 7684-1 Filed 08/01/11 Page 12 of 12




                                      MDL
        CLASS CASES                             ORIGINAL
                                     DOCKET                                                              STATUS
                                              JURISDICTION
                                       NO.
Master Consolidated Class Action                                      o     July 5, 2011 – Class Counsel’s Proposal to Redistribute the Track Two Consumer
(continued)                                                                 Allocation [Docket No. 7647]
                                                                                 •    July 5, 2011 – Declaration of Daniel Coggeshall Regarding Estimated Net
                                                                                      Consumer Settlement Fund and Estimated Class 1 and Class 3 Consumer
                                                                                      Payments for the Track Two Settlement [Docket No. 7648]
                                                                                 •    July 5, 2011 – Declaration of Steve W. Berman in Support [Docket No. 7649]
                                                              •   July 6, 2011 – Certain Named Plaintiffs’ Objections to Class Counsel’s Proposal to Redistribute the
                                                                  Track Two Consumer Allocation [Docket No. 7654]




                                                                      12
